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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flmb.uscourts.gov

In re:                                                        Case No. 24-21209-LMI
                                                              (Jointly Administered)
SHIFTPIXY, INC., et al.1
                                                              Chapter 11
                Debtor.
                               /

    EX PARTE MOTION BY SEQUOR LAW FOR LEAVE TO ATTEND REMOTELY
         THE HEARING SCHEDULED FOR JANUARY 8, 2025, AT 2:30 P.M.

         Sequor Law (“Sequor Law”), counsel for Golden Taco, Inc., Century Tacos, Inc., Pacific

Coast Taco, Inc., Tacos 2000, Inc. and Los Angeles West Taco, Inc., by and through its

undersigned counsel, hereby moves the Court for leave to attend the hearing scheduled for January

8, 2025, at 1:30 p.m. (the “Hearing”) remotely via Zoom Video Communications (the “Motion”),

and in support thereof states as follows:

         1.     On January 6, 2025, the Debtor filed an Emergency Motion to Set Status

Conference and Reconsider Agreed Order Granting Creditor, Tacos 2000, Inc.’s Motion for Order

Authorizing and Directing to File Corrected Wage and Tax Statements (Form W-2C) (the

“Emergency Motion”) [Docket Entry No. 157].

         2.     On January 6, 2025, this Court noticed the Emergency Motion for hearing on

January 8, 2025 at 2:30 p.m. (the “Emergency Hearing”) [Docket Entry No. 158].

         3.     Under Section (d) of Your Honor’s Requirements and Procedures for Remote

Attendance at Hearings, an ex parte motion requesting leave to attend remotely for good cause




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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital
Management, Inc. The address of the Debtors is 4101 NW 25th Street, Miami, FL 33142.
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shown may be filed in emergency or unforeseen circumstances, as soon as reasonably practicable

in advance of the hearing.

       4.      Participating counsel from Sequor Law is outside of the jurisdiction and cannot

return to attend in person prior to the scheduled emergency hearing due to weather delays.

Accordingly, Sequor Law submits that the circumstances constitute good cause to authorize their

attendance at the Hearing remotely via Zoom Video Communications.

       WHEREFORE, Sequor Law respectfully requests entry of an order, substantially in the

form attached hereto as Exhibit A, granting it leave to attend the Hearing remotely via Zoom

Video Communications.

       I HEREBY CERTIFY that a true and correct copy of the foregoing has served upon all

interested parties registered to receive notice via this Court’s CM/ECF electronic notification

system on January 7, 2025.

       Date: January 7, 2025                       Respectfully submitted,
                                                   SEQUOR LAW
                                                   1111 Brickell Avenue, Suite 1250
                                                   Miami, FL 33131
                                                   lflorin@sequorlaw.com
                                                   Telephone:     (305) 372-8282
                                                   Facsimile:     (305) 372-8202

                                                   By:    /s/ Leyza B. Florin
                                                          Leyza B. Florin
                                                          Florida Bar No.: 104639




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24-21209-LMI Notice will be electronically mailed to:

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Leyza Barbara Florin on behalf of Creditor Los Angeles West Taco, Inc.
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Leyza Barbara Florin on behalf of Creditor Pacific Coast Taco, Inc.
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Bradley S Shraiberg on behalf of Creditor Scott Absher
                                              4
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Raychelle A Tasher on behalf of Creditor United States of America Internal Revenue Service
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                       Exhibit A
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
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In re:                                                        Case No. 24-21209-LMI
                                                              (Jointly Administered)
SHIFTPIXY, INC., et al.2
                                                              Chapter 11
                Debtor.
                               /

              ORDER GRANTING EX PARTE MOTION BY SEQUOR LAW FOR
              LEAVE TO ATTEND REMOTELY THE HEARING SCHEDULED
                        FOR JANUARY 8, 2025, AT 1:30 P.M.

         THIS MATTER came before the Court on the Ex Parte Motion by Sequor Law for Leave

to Attend Remotely the Hearing Scheduled for January 8, 2025, at 1:30 p.m. (the “Motion”)

[Docket Entry No. __], filed by Sequor Law. The Court, having considered the Motion, and having

found good cause for the relief set forth herein, hereby

         ORDERS that:

         1.     The Motion is GRANTED.

         2.     Sequor Law, counsel for Golden Taco, Inc., Century Tacos, Inc., Pacific Coast

Taco, Inc., Tacos 2000, Inc. and Los Angeles West Taco, Inc., is authorized to attend the hearing

scheduled for January 8, 2025, at 1:30 p.m. via Zoom Video Communications.

                                               # # #


Submitted by:
Leyza B. Florin, Esq.
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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital
Management, Inc. The address of the Debtors is 4101 NW 25th Street, Miami, FL 33142.
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(Attorney Florin shall serve a conformed copy of the foregoing upon all interested parties and file
a Certificate of Service with this Court)




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